        Case 4:23-cr-00218
Waver of Ind/SDTX
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                                UNITED STATES DISTRICT COURT

                         Southern                   DISTRICT OF                    Texas


                                                                  WAIVER OF INDICTMENT
United States of America

                    v.                                        Case Number:      4:23-cr-218-S
DHIRENKUMAR VISHNUBHAI PATEL
Memo for Alias:




                         Defendant(s)


I,      DHIRENKUMAR VISHNUBHAI PATEL                   , the above-named defendant, who is accused of
Conspiracy [18 USC § 371]




Being advised of the nature of the charge(s), the proposed information, and of my rights, hereby

waived in open court on                                     prosecution by indictment and consent
                                             Date
that the proceeding may be by information rather than by indictment.



                                                           Defendant




                                                           Counsel for Defendant



 Before:
                          Judicial Officer
